                                                                                                   Case 2:21-cv-04951-CBM-MAR Document 1 Filed 06/17/21 Page 1 of 10 Page ID #:1


                                                                                               1 TUCKER ELLIS LLP
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                                                                                                 Facsimile:      213.430.3409
                                                                                               6
                                                                                               7 Attorneys for Plaintiff, BACKGRID USA, INC.
                                                                                               8
                                                                                               9                               UNITED STATES DISTRICT COURT
                                                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                   Chicago ♦ Cleveland ♦ Columbus ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                              10
                                                                                              11 BACKGRID USA, INC., a California                  )   Case No.
                                                                                                 corporation,                                      )
                                                                                              12                                                   )   COMPLAINT FOR COPYRIGHT
                                                                                                                Plaintiff,                         )   INFRINGEMENT
                                                                                              13                                                   )
TUCKER ELLIS LLP




                                                                                                       v.                                          )
                                                                                              14                                                   )   DEMAND FOR JURY TRIAL
                                                                                                 DIETCH PR, INC., a California                     )
                                                                                              15 corporation,                                      )
                                                                                                                                                   )
                                                                                              16                            Defendant.             )
                                                                                                                                                   )
                                                                                              17                                                   )
                                                                                                                                                   )
                                                                                              18                                                   )
                                                                                              19            Plaintiff, BackGrid USA, Inc. (“BackGrid”) complains against Defendant Dietch
                                                                                              20 PR, Inc. (“Dietch”) as follows:
                                                                                              21                                    JURISDICTION AND VENUE
                                                                                              22           1.       This is a civil action for copyright infringement under the Copyright Act, 17
                                                                                              23 U.S.C. §§ 101 et seq. This Court has subject matter jurisdiction under 28 U.S. C. § 1331,
                                                                                              24 28 U.S.C. § 1332, 17 U.S.C. § 501(a), and 28 U.S.C. § 1338(a) and (b).
                                                                                              25           2.       Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and 28
                                                                                              26 U.S.C. § 1400(a) in that the claim arises in this judicial district, Dietch may be found and
                                                                                              27 transacts business in this judicial district, and the injury BackGrid suffered took place in
                                                                                              28 this judicial district. Dietch is subject to the general and specific

                                                                                                                                              COMPLAINT
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                                                                                               1 personal jurisdiction of this Court because of its contacts with the State of California.
                                                                                               2                                               PARTIES
                                                                                               3           3.       BackGrid is a California corporation existing under the laws of California,
                                                                                               4 with its principal place of business located in Redondo Beach, California.
                                                                                               5           4.       BackGrid alleges on information and belief that Defendant Dietch is a
                                                                                               6 California corporation with its principal place of business at 1923 S. Santa Fe Avenue,
                                                                                               7 Los Angeles, California 90021.
                                                                                               8                               FACTS COMMON TO ALL COUNTS
                                                                                               9           5.       BackGrid owns and operates one of Hollywood’s largest celebrity-
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                                                                                              10 photograph agencies and has earned a reputation of regularly breaking scoops on sought
                                                                                              11 after celebrity news. It owns the intellectual property rights, including the copyrights, to
                                                                                              12 celebrity photographs that have been licensed to numerous top-tier outlets, such as TMZ,
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                                                                                              13 Entertainment Tonight, New York Post, People Magazine, Huffington Post, the Daily
                                                                                              14 Mail, as well as many television stations, newspapers and other prominent media outlets
                                                                                              15 throughout the world. Each license has been granted for valuable consideration, up to
                                                                                              16 hundreds of thousands of dollars.
                                                                                              17           6.       Among many other in-demand photographs, BackGrid owns photographs of
                                                                                              18 well-known celebrities such as Emily Ratajkowski, Sebastian Bear-McClard, Vanessa
                                                                                              19 Hudgens, Katherine Schwarzenegger, Lily Collins, Lucy Hale, Miley Cyrus, Emma
                                                                                              20 Roberts, and Garrett Hedlund.
                                                                                              21           7.       Dietch is a public relations firm with an office in Los Angeles. Dietch also
                                                                                              22 advertises through its website, DietchPR.net.
                                                                                              23           8.       Dietch uses social media platforms including Instagram to promote its
                                                                                              24 clients’ brands. In doing so, Dietch frequently posts photographs of celebrities wearing its
                                                                                              25 clients’ products – regardless of whether it has the legal right to do so.
                                                                                              26                                    FIRST CLAIM FOR RELIEF
                                                                                              27                 (For Infringement of Copyright Registration No. VA0002240019)
                                                                                              28           9.       BackGrid repeats, realleges, and incorporates by reference the allegations of

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                                                                                                                                               COMPLAINT
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                                                                                               1 paragraphs 1 through 8 of this Complaint as though set forth fully here.
                                                                                               2          10.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                               3 No. VA0002240019, for a group of photographs titled “Pregnant Emily Ratajkowski
                                                                                               4 enjoys a hike with hubby Sebastian Bear-McClard.” A copy of the registration is attached
                                                                                               5 as Exhibit A.
                                                                                               6          11.       The photographs covered by Exhibit A are original and copyrightable under
                                                                                               7 the laws of the United States. BackGrid filed for copyright registration of the photographs
                                                                                               8 within 90 days of their first publication with the United States Copyright Office.
                                                                                               9          12.       A reproduction of the deposit copy submitted in connection with the
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                                                                                              10 application for Copyright Registration No. VA0002240019 is attached as Exhibit B.
                                                                                              11          13.       Dietch directly, vicariously, contributorily and/or by inducement willfully
                                                                                              12 infringed BackGrid’s copyright by posting photographs covered by Exhibit A on Dietch’s
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                                                                                              13 Instagram account on November 29, 2020. A copy of the infringing post is attached as
                                                                                              14 Exhibit C.
                                                                                              15          14.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                              16 permission, license, or consent.
                                                                                              17          15.       Dietch’s willful infringement damaged BackGrid in an amount according to
                                                                                              18 proof, and at a minimum BackGrid is entitled to statutory damages of up to $150,000 in
                                                                                              19 addition to attorneys’ fees.
                                                                                              20
                                                                                              21                                  SECOND CLAIM FOR RELIEF
                                                                                              22                 (For Infringement of Copyright Registration No. VA0002218074)
                                                                                              23          16.       BackGrid repeats, realleges, and incorporates by reference the allegations of
                                                                                              24 paragraphs 1 through 15 of this Complaint as though set forth fully here.
                                                                                              25          17.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                              26 No. VA0002218074, for a group of photographs titled “*EXCLUSIVE* Vanessa
                                                                                              27 Hudgens makes a juice run at Earthbar after a workout with a friend.” A copy of the
                                                                                              28 registration is attached as Exhibit D.

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                                                                                                                                               COMPLAINT
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                                                                                               1          18.       The photographs covered by Exhibit D are original and copyrightable under
                                                                                               2 the laws of the United States. BackGrid filed for copyright registration of the photographs
                                                                                               3 within 90 days of their first publication with the United States Copyright Office.
                                                                                               4          19.       A reproduction of the deposit copy submitted in connection with the
                                                                                               5 application for Copyright Registration No. VA0002218074 is attached as Exhibit E.
                                                                                               6          20.       Dietch directly, vicariously, contributorily and/or by inducement willfully
                                                                                               7 infringed BackGrid’s copyright by posting a photograph covered by Exhibit D on
                                                                                               8 Dietch’s Instagram account on June 22, 2020. A copy of the infringing post is attached as
                                                                                               9 Exhibit F.
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                                                                                              10          21.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                              11 permission, license, or consent.
                                                                                              12          22.       Dietch’s willful infringement damaged BackGrid in an amount according to
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                                                                                              13 proof, and at a minimum BackGrid is entitled to statutory damages of up to $150,000 in
                                                                                              14 addition to attorneys’ fees.
                                                                                              15                                   THIRD CLAIM FOR RELIEF
                                                                                              16                 (For Infringement of Copyright Registration No. VA0002174270)
                                                                                              17          23.       BackGrid repeats, realleges, and incorporates by reference the allegations of
                                                                                              18 paragraphs 1 through 22 of this Complaint as though set forth fully here.
                                                                                              19          24.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                              20 No. VA0002174270, for a group of photographs titled “*EXCLUSIVE* Katherine
                                                                                              21 Schwarzenegger goes on a solo shopping trial after husband Chris Pratt gets criticized for
                                                                                              22 his t-shirt choice.” A copy of the registration is attached as Exhibit G.
                                                                                              23          25.       The photographs covered by Exhibit G are original and copyrightable under
                                                                                              24 the laws of the United States. BackGrid filed for copyright registration of the photographs
                                                                                              25 within 90 days of their first publication with the United States Copyright Office.
                                                                                              26          26.       A reproduction of the deposit copy submitted in connection with the
                                                                                              27 application for Copyright Registration No. VA0002174270 is attached as Exhibit H.
                                                                                              28          27.       Dietch directly, vicariously, contributorily and/or by inducement willfully

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                                                                                               1 infringed BackGrid’s copyright by posting a photograph covered by Exhibit G on
                                                                                               2 Dietch’s Instagram account as an Instagram story “highlight” on July 18, 2019 (unlike an
                                                                                               3 Instagram photo that expires after 24 hours). A copy of the infringing post is attached as
                                                                                               4 Exhibit I.
                                                                                               5          28.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                               6 permission, license, or consent.
                                                                                               7          29.       Dietch’s willful infringement damaged BackGrid in an amount according to
                                                                                               8 proof, and at a minimum BackGrid is entitled to statutory damages of up to $150,000 in
                                                                                               9 addition to attorneys’ fees.
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                                                                                              10                                  FOURTH CLAIM FOR RELIEF
                                                                                              11                 (For Infringement of Copyright Registration No. VA0002197541)
                                                                                              12          30.       BackGrid repeats, realleges, and incorporates by reference the allegations of
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                                                                                              13 paragraphs 1 through 29 of this Complaint as though set forth fully here.
                                                                                              14          31.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                              15 No. VA0002197541, for a group of photographs titled “*EXCLUSIVE* Lily Collins
                                                                                              16 grabs her caffeine fix to-go.” A copy of the registration is attached as Exhibit J.
                                                                                              17          32.       The photographs covered by Exhibit J are original and copyrightable under
                                                                                              18 the laws of the United States. BackGrid filed for copyright registration of the photographs
                                                                                              19 within 90 days of their first publication with the United States Copyright Office.
                                                                                              20          33.       A reproduction of the deposit copy submitted in connection with the
                                                                                              21 application for Copyright Registration No. VA0002197541 is attached as Exhibit K.
                                                                                              22          34.       Dietch directly, vicariously, contributorily and/or by inducement willfully
                                                                                              23 infringed BackGrid’s copyright by posting a photograph covered by Exhibit J on Dietch’s
                                                                                              24 Instagram account as an Instagram story “highlight” on November 19, 2019 (unlike an
                                                                                              25 Instagram photo that expires after 24 hours). A copy of the infringing post is attached as
                                                                                              26 Exhibit L.
                                                                                              27          35.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                              28 permission, license, or consent.

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                                                                                                                                               COMPLAINT
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                                                                                               1          36.       Dietch’s willful infringement damaged BackGrid in an amount according to
                                                                                               2 proof, and at a minimum BackGrid is entitled to statutory damages of up to $150,000 in
                                                                                               3 addition to attorneys’ fees.
                                                                                               4                                    FIFTH CLAIM FOR RELIEF
                                                                                               5                 (For Infringement of Copyright Registration No. VA0002229575)
                                                                                               6          37.       BackGrid repeats, realleges, and incorporates by reference the allegations of
                                                                                               7 paragraphs 1 through 36 of this Complaint as though set forth fully here.
                                                                                               8          38.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                               9 No. VA0002229575, for a group of photographs titled “*EXCLUSIVE* Lucy Hale steps
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                                                                                              10 out for a solo hike.” A copy of the registration is attached as Exhibit M.
                                                                                              11          39.       The photographs covered by Exhibit M are original and copyrightable under
                                                                                              12 the laws of the United States. BackGrid filed for copyright registration of the photographs
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                                                                                              13 within 90 days of their first publication with the United States Copyright Office.
                                                                                              14          40.       A reproduction of the deposit copy submitted in connection with the
                                                                                              15 application for Copyright Registration No. VA0002229575 is attached as Exhibit N.
                                                                                              16          41.       Dietch directly, vicariously, contributorily and/or by inducement willfully
                                                                                              17 infringed BackGrid’s copyright by posting photographs covered by Exhibit M on
                                                                                              18 Dietch’s Instagram account September 21, 2020. A copy of the infringing post is attached
                                                                                              19 as Exhibit O.
                                                                                              20          42.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                              21 permission, license, or consent.
                                                                                              22          43.       Dietch’s willful infringement damaged BackGrid in an amount according to
                                                                                              23 proof, and at a minimum BackGrid is entitled to statutory damages of up to $150,000 in
                                                                                              24 addition to attorneys’ fees.
                                                                                              25                                    SIXTH CLAIM FOR RELIEF
                                                                                              26                 (For Infringement of Copyright Registration No. VA0002187886)
                                                                                              27          44.       BackGrid repeats, realleges, and incorporates by reference the allegations of
                                                                                              28 paragraphs 1 through 43 of this Complaint as though set forth fully here.

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                                                                                                                                               COMPLAINT
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                                                                                               1          45.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                               2 No. VA0002187886, for a group of photographs titled “*EXCLUSIVE* Miley Cyrus and
                                                                                               3 her new boyfriend Cody Simpson step out for breakfast together with her mom.” A copy
                                                                                               4 of the registration is attached as Exhibit P.
                                                                                               5          46.       The photographs covered by Exhibit P are original and copyrightable under
                                                                                               6 the laws of the United States.
                                                                                               7          47.       A reproduction of the deposit copy submitted in connection with the
                                                                                               8 application for Copyright Registration No. VA0002187886 is attached as Exhibit Q.
                                                                                               9          48.       Dietch directly, vicariously, contributorily and/or by inducement willfully
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                                                                                              10 infringed BackGrid’s copyright by posting a photograph covered by Exhibit P on
                                                                                              11 Dietch’s Instagram account as an Instagram story “highlight” on October 14, 2019
                                                                                              12 (unlike an Instagram photo that expires after 24 hours). A copy of the infringing post is
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                                                                                              13 attached as Exhibit R.
                                                                                              14          49.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                              15 permission, license, or consent.
                                                                                              16          50.       Dietch’s willful infringement damaged BackGrid in an amount according to
                                                                                              17 proof.
                                                                                              18                                 SEVENTH CLAIM FOR RELIEF
                                                                                              19                 (For Infringement of Copyright Registration No. VA0002201974)
                                                                                              20          51.       BackGrid repeats, realleges, and incorporates by reference the allegations of
                                                                                              21 paragraphs 1 through 50 of this Complaint as though set forth fully here.
                                                                                              22          52.       BackGrid owns all right, title, and interest in and to Copyright Registration
                                                                                              23 No. VA0002201974, for a group of photographs titled “*EXCLUSIVE* Emma Roberts
                                                                                              24 and Garrett Hedlund go out for breakfast together in Los Feliz.” A copy of the
                                                                                              25 registration is attached as Exhibit S.
                                                                                              26          53.       The photographs covered by Exhibit S are original and copyrightable under
                                                                                              27 the laws of the United States.
                                                                                              28          54.       A reproduction of the deposit copy submitted in connection with the

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                                                                                                                                               COMPLAINT
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                                                                                               1 application for Copyright Registration No. VA0002201974 is attached as Exhibit T.
                                                                                               2          55.       Dietch directly, vicariously, contributorily and/or by inducement willfully
                                                                                               3 infringed BackGrid’s copyright by posting a photograph covered by Exhibit S on
                                                                                               4 Dietch’s Instagram account as an Instagram story “highlight” on January 13, 2020 that
                                                                                               5 remains active as of the date this complaint is filed (unlike an Instagram photo that
                                                                                               6 expires after 24 hours). A copy of the infringing post is attached as Exhibit U.
                                                                                               7          56.       Dietch used the copyrighted work willfully, and without BackGrid’s
                                                                                               8 permission, license, or consent.
                                                                                               9          57.       Dietch’s willful infringement damaged BackGrid in an amount according to
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                                                                                              10 proof.
                                                                                              11
                                                                                              12                                       PRAYER FOR RELIEF
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                                                                                              13            Therefore, BackGrid requests judgment against Dietch as follows:
                                                                                              14           1.       That Dietch, and its officers, agents, servants, employees, and
                                                                                              15 representatives, and all persons in active concert or participation with them, be
                                                                                              16 permanently enjoined from copying, reproducing, displaying, promoting, advertising,
                                                                                              17 distributing, or selling, or any other form of dealing or transaction in, any and all of the
                                                                                              18 copyrighted photographs that are the subject of this action;
                                                                                              19           2.       That Dietch be ordered to account for all profits, income, receipts or other
                                                                                              20 benefits it derived from the unlawful reproduction, copying, display, promotion,
                                                                                              21 distribution, or sale of products and services, or other media, that improperly or
                                                                                              22 unlawfully infringe the asserted copyrights pursuant to 17 U.S.C. §§ 504 (a)(1) & (b);
                                                                                              23           3.       For actual damages and disgorgement of all profits Dietch derived from its
                                                                                              24 copyright infringement, under 17 U.S.C. § 504 (a)(1) & (b);
                                                                                              25           4.       For statutory damages for copyright infringement, including willful
                                                                                              26 infringement, in accordance with 17 U.S.C. §§ 504(a)(2) & (c),;
                                                                                              27           5.       For reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;
                                                                                              28           6.       For costs and interest pursuant to 17 U.S.C. §§ 504 (a)(1) & (b) and 17

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                                                                                               1 U.S.C. § 505; and
                                                                                               2           7.       For such other and further relief that the Court deems just and proper.
                                                                                               3
                                                                                               4 DATED: June 17, 2021                               Tucker Ellis LLP
                                                                                               5
                                                                                               6                                                    By:    /s/ Brian K. Brookey
                                                                                               7                                                           Brian K. Brookey
                                                                                                                                                           brian.brookey@tuckerellis.com
                                                                                               8                                                           Attorneys for Plaintiff, BACKGRID
                                                                                                                                                           USA, INC.
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                                                                                               1                                 DEMAND FOR JURY TRIAL
                                                                                               2           Plaintiff BackGrid USA, Inc. demands trial by jury of all issues so triable.
                                                                                               3
                                                                                               4 DATED: June 17, 2021                            Tucker Ellis LLP
                                                                                               5
                                                                                               6
                                                                                                                                                 By:     /s/ Brian K. Brookey
                                                                                               7                                                         Brian K. Brookey
                                                                                                                                                         brian.brookey@tuckerellis.com
                                                                                               8                                                         Attorneys for Plaintiff, BACKGRID
                                                                                                                                                         USA, INC.
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